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   For Fox Ortega Enterprises, Inc.
 6 Dba Premier Cru

 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                                 NORTHERN DISTRICT OF CALIFORNIA
10                                          OAKLAND DIVISION
11 In re
                                                       Case No. 16-40050-WJL
12 FOX ORTEGA ENTERPRISES, INC., dba
   PREMIER CRU
13                                                     Chapter 7
             Debtor.
14

15

16 MICHAEL G. KASOLAS, Chapter 7 Trustee
   for Fox Ortega Enterprises, Inc. dba Premier
17 Cru

18                  Plaintiff                          Adversary No.

19 vs.

20 RICHARD O’NEIL
                                                       ORIGINAL COMPLAINT
21

22         Plaintiff Michael G. Kasolas, the Chapter 7 Trustee (the “Trustee”) for Fox Ortega

23 Enterprises, Inc. dba Premier Cru (“Premier Cru” or the “Debtor”), brings this adversary

24 proceeding against Richard O’Neil (“Defendant”) and alleges as follows:

25                                           INTRODUCTION

26          1.      This suit seeks the avoidance and recovery of transfers from Premier Cru to the

27 Defendant as well as the avoidance of certain obligations Premier Cru incurred in the Defendant’s

28 favor. These transfers and obligations were part of a fraudulent scheme involving the sale of wine

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 1 that caused the loss of tens of millions of dollars. At the time of the Premier Cru’s bankruptcy,

 2 approximately 4,500 customers had not received pre-arrival wine for which that had already paid,

 3 with losses reaching $45 million.

 4          2.     Transfers to the Defendant and the obligations incurred by Premier Cru were made

 5 as part of the fraud and with the actual intent to hinder, delay, or defraud Premier Cru’s creditors.

 6 Premier Cru incurred obligations in favor of the Defendant for the purpose of acquiring funds

 7 necessary for the continuation of the fraud. Later, Premier Cru made transfers to the Defendant

 8 with the purpose of concealing the ongoing fraud, to lull customers into a false sense that Premier

 9 Cru was a legitimate business, to cause the customers to continue to purchase wine from Premier

10 Cru, and to prevent them from complaining to law enforcement authorities.

11          3.     The Trustee requests that this Court grant relief that will return the value of the

12 transfers to the Defendant that were made as a part of the scheme. Specifically, the Trustee seeks

13 the avoidance and recovery of the transfers made and obligations incurred that are identified below

14 under 11 U.S.C. §§ 544, 548, 550 and California Civil Code § 3439.04.

15                                   JURISDICTION AND VENUE
16          4.     This is an adversary proceeding, pursuant to Federal Rule of Bankruptcy

17 Procedure, which relates to the Chapter 7 proceeding captioned In re Fox Ortega Enterprises, Inc.,

18 dba Premier Cru, Case No. 16-40050-WJL (Bankr. N.D. Cal., Oakland Div.).
19          5.     This Court has subject matter jurisdiction over this action pursuant to section 28

20 U.S.C. § 1334(b) and 28 U.S.C. § 157(a), in that this adversary proceeding arises in, arises under,

21 and/or relates to Premier Cru’s chapter 7 case.

22          6.     This adversary proceeding is a core proceeding under section 157(b)(2) of Title 28

23 of the United States Code, such that this Court has jurisdiction to hear and determine this

24 proceeding and to enter an appropriate order and judgment. To the extent necessary, the Trustee

25 consents to entry of a final order or judgment by this Court.

26          7.     The Defendant’s forum-related activities give rise to the action before the Court.

27 The Defendant purposefully directed his activities and consummated the transactions described

28 below within California, thereby invoking the benefits and protection of California law. As

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 1 reflected in the applicable terms and conditions for the transactions described below, “[a]ny wine

 2 sold to you by Premier Cru is sold in California, and title passes to you, the buyer, in California.”

 3 Furthermore, the Trustee’s claims arise out of or relate to the Defendant’s forum-related activities.

 4           8.       This Court is the proper venue for this adversary proceeding pursuant to 28 U.S.C.

 5 § 1409(a) because the Debtor’s chapter 7 case is pending in this judicial district.

 6
                                                  PARTIES
 7
             9.       The Trustee is the duly appointed chapter 7 trustee for the bankruptcy estate of
 8
     Premier Cru. Premier Cru entered bankruptcy proceedings on January 8, 2016 (the “Petition
 9
     Date”), at which time the Trustee was appointed by the Court. The Trustee is duly authorized and
10
     empowered to pursue any and all claims of the Debtor’s estate.
11
             10.      Defendant Richard O’Neil is an individual and a citizen of Texas. Defendant may
12
     be served with process at 6049 Hillcrest Avenue, Dallas, Texas 75205.
13
                                        GENERAL ALLEGATIONS
14
        I.         Premier Cru’s Operations
15
             11.      Premier Cru was founded in 1980 by John Fox (“Fox”) and Hector Ortega as a
16
     seller of top-quality wines in the Bay Area. During all relevant times, Fox owned equity in
17
     Premier Cru and served as its President. Fox made all significant business decisions for Premier
18
     Cru. Fox was the sole manager of the company’s finances, including payment of Premier Cru’s
19
     bills and expenses, as well as obtaining business loans and financing from banks or individuals to
20
     fund Premier Cru’s operations.
21
             12.      Premier Cru originally operated out of a small storefront in Oakland with a focus
22
     on hard to find and limited production offerings. As Premier Cru’s popularity grew, the company
23
     determined that it would begin purchasing its supply of wine from sources overseas and obtained
24
     its own import license.      Premier Cru touted that it could eliminate the middle man while
25
     simultaneously increasing the allocation of hard to locate wines by supposedly sourcing its
26
     inventory directly.
27

28

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 1            13.     The Debtor generally sold wine in two ways. First, the company sold wine that

 2 was, or supposedly was, physically held in Premier Cru’s inventory. Second, Premier Cru sold

 3 wine on a “pre-arrival” basis, whereby customers paid for wine that was not in Premier Cru’s

 4 physical possession but which Premier Cru represented it had already purchased.

 5            14.     In the wine industry, there are generally two ways to purchase wine before it is

 6 released to the open market. “Wine futures” involve the purchase of wine while it is still in the

 7 barrel and before the wine is bottled. Because the purchaser must wait for the wine to age in the

 8 barrel, buyers can expect to wait years before receiving the wine they purchased. Premier Cru did

 9 not sell wine futures. In contrast, “pre-arrival” wines are sold to collectors months before a wine

10 is released to the open market, but after the wine has actually been bottled. Unlike “wine futures,”

11 there is generally less risk in pre-arrival purchasing because importers know exactly how many

12 bottles they will receive from the supplier. Pre-arrival sales allow consumers to purchase difficult

13 to locate wines at prices that are generally lower than what is found in the market. Premier Cru

14 purportedly sold pre-arrival wines.

15            15.     Premier Cru sold pre-arrival wine through a website operated and maintained by

16 Premier Cru or through salespeople who worked in the Premier Cru offices and reported to Fox.

17 The “Terms and Conditions” associated with the sale of pre-arrival wine provided as follows:

18            The term “Pre-Arrival” is applied to wines we have purchased (typically abroad)
              that have not arrived yet. Depending on the particular wine, the arrival time is
19            typically 6+ months to over two years (in the case of Bordeaux Futures, for
              example).
20

21            Many new releases of highly desirable, limited-production wines (ie – Burgundy,
              Rhone, Italian, etc.) are offered on a “Pre-Arrival” basis by our suppliers. These
22            offerings typically take 6 to 18 months to arrive and are often the only way to
              source the wines before they sell out (and at optimal prices). We send an email
23            notification when your wine arrives.
24
     According to Fox, the majority of Premier Cru’s revenue was derived from pre-arrival sales.
25
        II.         The Fraud
26
              16.     On or about August 11, 2016, Fox entered into a guilty plea in guilty plea in his
27
     criminal case [United States v. John Fox, Case No. CR 16-281 JD, N.D. Cal] and executed a Plea
28

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 1 Agreement in which he admitted that he operated the Debtor as a fraudulent scheme. In his plea

 2 agreement, Fox admitted that he “devised a scheme to defraud, and a scheme for obtaining

 3 property by means of false and fraudulent pretenses, representations and omissions, through

 4 Premier Cru’s sale of pre-arrival wine.” Fox further admitted that his fraudulent conduct began as

 5 early as 1993 or 1994. Through Fox’s actions, Premier Cru engaged in a massive fraud whereby

 6 funds derived from later fraudulent wine sales were used to pay obligations that arose from earlier

 7 fraudulent transactions.

 8          17.    According to Premier Cru, the pre-arrival wines were wines that the company had

 9 supposedly already contracted to purchase from its suppliers. Premier Cru further represented that

10 it would deliver the pre-arrival wines to customers within a time period of approximately six

11 months to two years after customers had paid for the wine. These representations were false at

12 the time they were made for at least two reasons. First, Fox admitted to falsifying purchase orders

13 for wine that Premier Cru had not contracted to purchase and then entering that wine into Premier

14 Cru’s inventory records for sale to its customers. He stated that Premier Cru “priced these wines

15 at prices below the market price, knowing that [he] had not and would not need to actually pay for

16 this wine from any vendors.” Second, Fox stated that Premier Cru contracted with “foreign

17 suppliers . . . to purchase wine, generally with the promise to pay those foreign suppliers within 30

18 days.” Fox did so even where he “knew that Premier Cru would not be able to make payment
19 within 30 days, or ever” because he (a) “embezzled money from Premier Cru’s business accounts

20 that [he] should have used to pay Premier Cru’s suppliers” or (b) “diverted money coming in from

21 current customers to obtain wine for prior customers who had never received their wine.” In

22 either event, the end result was the same—Premier Cru did not have the wine required to fulfill the

23 obligations for its pre-arrival customers. Fox further admitted that “customers paid Premier Cru

24 for wine that [he] knew Premier Cru could not deliver to them and which they never received” and

25 that his false statements were made “with the intent to defraud Premier Cru’s customers.” At the

26 time of the bankruptcy, approximately 4,500 customers had not received pre-arrival wine for

27 which that had already paid.

28

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 1          18.    The fraud was unsustainable on its face because the funds Premier Cru received

 2 from its customers were less than the cost of purchasing wine at a later date to fulfill the

 3 outstanding orders. Due to the rarity of the wines at issue, purchasing wines on the open market

 4 after their release is far more costly than sourcing the wines from appropriate oversea suppliers on

 5 a pre-arrival basis. Furthermore, Premier Cru sometimes offered pre-arrivals at a price lower than

 6 the current market for pre-arrivals. This act of undercutting the market assisted in raising funds

 7 while simultaneously increasing the gap between Premier Cru’s assets and its obligations. To

 8 make matters worse, Premier Cru’s Fox removed millions of dollars from the company, further

 9 reducing the funds available to satisfy Premier Cru’s obligations. Because Premier Cru was not

10 generating sufficient revenue from the pre-arrival sales to ultimately purchase wine for its

11 customers, the company was forced to enter into an increasing number of fraudulent, pre-arrival

12 sales to fill the financial gap and generate the funds required to purchase wine for its existing

13 customers. As Premier Cru’s liquidity and its ability to enter into a sufficient number of new pre-

14 arrival transactions declined, Premier Cru was forced to declare bankruptcy in 2016.

15          19.    Prior to 2015, Premier Cru was able to conceal its fraud from its creditors.

16 According to Fox, his efforts to conceal the fraud included (a) offering falsified excuses and

17 promises for wine that Premier Cru would not be delivered; (b) delivering wine that was

18 purchased by other customers; and (c) purchasing wine at retail prices for use in fulfilling
19 outstanding orders. Fox admitted that he “took these and other actions to “conceal [Premier

20 Cru’s] ongoing fraud, to lull customers into a false sense that Premier Cru was a legitimate

21 business, to cause [its] customers to continue to purchase wine from Premier Cru, and to prevent

22 them from complaining to law enforcement authorities.” Furthermore, Premier Cru concealed its

23 fraud by making cash disbursements to customers whose orders were not fulfilled, often in

24 amounts greater than what customers had originally paid for their alleged pre-arrival orders.

25          20.    The sales and subsequent transfers to the Defendant were made as a part of the

26 fraud and with the actual intent to hinder, delay, or defraud Premier Cru’s creditors. Premier Cru

27 made the transfers and incurred the obligations with the purpose of concealing the ongoing fraud,

28 lulling customers into a false sense that Premier Cru was a legitimate business, causing customers

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 1 to continue to purchase wine from Premier Cru, and preventing customers from complaining to

 2 law enforcement authorities by paying them cash settlements.

 3      III.         Badges of Fraud Related to the Transactions with the Defendant
 4             21.       Multiple badges of fraud are present with respect to the transactions with and

 5 transfers to the Defendant, including the following:

 6                      Premier Cru was insolvent during the period of the transfers;
 7                      Premier Cru had incurred, and was continuing to incur, substantial debt while it
                         was making its payments to the Defendant;
 8

 9                      The true nature of the transactions with the Defendant was concealed. Premier Cru
                         made false statements indicating that it was contractually entitled to receive the pre-
10                       arrival wine from its suppliers and falsified accounting documentation to cover up
                         its fraudulent actions. Fox further admitted to making efforts to conceal the fraud
11                       through false statements to customers regarding the status of their orders. As
                         admitted by Fox, his actions were undertaken with the intent to defraud customers;
12

13                      The transfers were made while Premier Cru was under threat of potential lawsuits.
                         Had Premier Cru’s creditors discovered the fraud, Premier Cru and its principals
14                       would have been subject to numerous lawsuits. In fact, Premier Cru’s customers
                         repeatedly and regularly threatened the company with lawsuits where pre-arrival
15                       wine was not delivered, and in some instances, actually filed suit;
16                      Premier Cru removed and concealed assets. Fox admitted that, in the face of
17                       customer complaints, he caused Premier Cru to deliver wine to the complaining
                         customers that was paid for by other customers. Furthermore, Fox caused Premier
18                       Cru to transfer large sums for his personal benefit as further described in his plea
                         agreement;
19
                        Premier Cru incurred the obligations and made the transfers described herein for
20                       less than reasonably equivalent value;
21
                        As described in more detail above, the overall existence and cumulative effect of
22                       the pattern, series of transactions, and Premier Cru’s course of conduct indicate the
                         transactions with the Defendant were designed to defraud creditors. Premier Cru
23                       incurred debt and faced financial difficulties, and as a result, entered into the
                         transactions with the Defendant and other customers in order to further the fraud;
24
                        The general chronology of events and the transactions under inquiry indicate the
25
                         intent to defraud. Premier Cru entered into pre-arrival wine sales without having
26                       the underlying right to receive the wine from its suppliers. The purpose of the
                         transactions was to provide liquidity to fuel the fraud and for Fox’s improper
27                       diversions and embezzlement. Moreover, Premier Cru’s entry into fraudulent pre-
                         arrival wine sales naturally increased based upon its need to enter into more and
28                       more fraudulent transactions to pay for prior obligations;

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 1                   Premier Cru’s conduct was both exceptional and peculiar. Such conduct included
                      falsifying accounting documentation, making false statements to customers, and
 2                    generally utilizing payments from later customers to fulfill obligations owed to
                      prior customers;
 3

 4                   Premier Cru made false statements, concealed facts, and operated under false
                      pretenses. Among other things, Premier made misrepresentations concerning the
 5                    following: (a) its financial condition; (b) its contractual relationships with suppliers
                      and its right to receive the wines in question; (c) its inventory balances; and (d) the
 6                    purported reason for delays in wine delivery;
 7
                     The transactions with the customers for the fraudulent wine transactions, including
 8                    the Defendant, were questionable and not in ordinary course for a legitimate
                      business. Companies such as Premier Cru do not intentionally misrepresent their
 9                    inventory and contractual purchases from their vendors or alter documents to
                      support sales;
10
                     Premier Cru entered into the transactions involved in the fraud under secrecy and
11                    haste, and the transactions were unusual. Premier Cru disguised its pre-arrival
12                    sales using falsified documentation and misrepresentations to its customers.
                      Furthermore, Premier Cru acted with haste in fulfilling fraudulent orders for those
13                    customers that complained repeatedly or forcefully;

14                   Premier Cru was aware of its creditors’ claims against the company and that
                      Premier Cru was incapable of paying those claims.
15

16                                          CLAIMS FOR RELIEF
                                 Count I – Actual Intent Fraudulent Transfer
17
                                       Under 11 U.S.C. § 548(a)(1)(A)
18                                            (Wine Transfers)

19          22.        The Trustee re-alleges and fully incorporates the allegations pleaded in the
20 preceding paragraphs as if fully set forth herein.

21          23.       The Debtor presently has one or more creditors whose claim arose either before or
22 after the transfers to the Defendant.

23          24.        Premier Cru transferred the at least 36 bottles of wine to the Defendant in the two
24 years prior to the Petition Date (the “548 Transfers”).             The 548 Transfers are more fully
25 described as follows:

26 ShipDate            SalesOrder          Description       Quantity         Unit Value       Total Value
                                                             Shipped
27 2/17/2014          SO-0000421154          09 Louis          36                $30.00           $1,080
28

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 1          25.     The 548 Transfers were made within two years of the Petition Date.

 2          26.     The aggregate amount of the 548 Transfers may be in excess of the above-stated

 3 amount, and the Trustee may amend his Complaint as and when additional transfers made as a part

 4 of the scheme are ascertained.

 5          27.     The 548 Transfers were made as a part of the fraud at Premier Cru. Premier Cru

 6 entered into the underlying wine sales in furtherance of its fraudulent scheme. Each of the

 7 transactions generated cash through the alleged “sale” of the wine to the Defendant. These sham

 8 transactions provided Premier Cru with the funds it required to satisfy already existing obligations

 9 that were part of the fraudulent scheme.        Furthermore, Premier Cru entered into additional

10 transactions with other customers at a later time that ultimately provided the company with the

11 funds necessary to purchase wine for the 548 Transfers. This pattern of conduct of using new

12 money to fund the fulfillment of earlier obligations constitutes a Ponzi scheme or similar fraud

13 whereby funds received from later fraudulent transactions were used to fund prior obligations.

14          28.     Moreover, Fox’s plea agreement evidences Premier Cru’s intent to defraud its

15 creditors through the fraudulent scheme. Therefore, the 548 Transfers were made with the actual

16 intent to hinder, delay, or defraud entities to which Premier Cru was or became indebted to on or

17 after the date of the transfer.

18          29.     As stated above, there are a multitude of badges of fraud present with respect to the
19 transactions with the Defendant. The existence and sheer number of the badges of fraud present in

20 this matter indicate that Premier Cru intended to hinder, delay, or defraud its creditors in entering

21 into and making the 548 Transfers.

22          30.     Defendant was the initial transferee of the Transfers as the Defendant received the

23 wine and funds transferred directly from Premier Cru.

24          31.     Pursuant to 11 U.S.C. §§ 548(a)(1)(A) and 550, the Trustee is entitled to judgment

25 avoiding and recovering the value of the 548 Transfers from the Defendant.

26

27

28

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  1                           Count II – Actual Intent Voidable Transfer
              Under California Civil Code § 3439.04(a)(1) et seq.; 11 U.S.C. §§ 544 and 550
  2                                   (Wine and Cash Transfers)
  3          32.    The Trustee re-alleges and fully incorporates the allegations pleaded in the
  4 preceding paragraphs as if fully set forth herein.

  5          33.    The Debtor presently has one or more creditors whose claim arose either before or
  6 after the transfers to the Defendant.

  7          34.     Premier Cru transferred the 548 Transfers to the Defendant as detailed above.
  8          35.    Premier Cru also transferred at least 258 bottles of wine to the Defendant during
  9 the seven years prior to the Petition Date (the “Additional Wine Transfers”). The Additional

 10 Wine Transfers are more fully described in Exhibit A, which is attached hereto.

 11          36.    In addition to the 548 Transfers and the Additional Wine Transfers, Premier Cru
 12 made the following transfers to the Defendant from its bank account (the “Additional Cash

 13 Transfers”):

 14
                      Date                               Amount
 15                   11/12/2009                         $10,260.00
                      12/18/2009                         $21,000.00
 16
                      4/20/2010                          $11,650.00
 17
                      10/12/2010                         $3,000.00
 18                   3/3/2011                           $14,300.00
 19                   10/24/2011                         $76,700.00

 20                   12/12/2012                         $12,442.72

 21          37.    Premier Cru also made the following transfers to the Defendant’s credit cards (the
 22 “Additional Credit Card Transfers”):

 23                           Date               Card                 Amount
 24                         7/16/2009           AMEX                   $95.94
 25
                            6/29/2010           AMEX                  $1,439.97
 26

 27

 28

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  1          38.     The 548 Transfers, the Additional Wine Transfers, the Additional Cash Transfers,

  2 and the Additional Credit Card Transfers (collectively, the “Total Transfers”) were made within

  3 seven years of the Petition Date.

  4          39.     The aggregate amount of the Total Transfers may be in excess of the above-stated

  5 amount, and the Trustee may amend his Complaint as and when additional transfers made as a part

  6 of the scheme are ascertained.

  7          40.     The Total Transfers were made as a part of the fraud at Premier Cru. Premier Cru

  8 entered into the underlying wine sales in furtherance of its fraudulent scheme. Each of the

  9 transactions generated cash through the alleged “sale” of the wine to the Defendant. These sham

 10 transactions provided Premier Cru with the funds it required to satisfy already existing obligations

 11 that were part of the fraudulent scheme.        Furthermore, Premier Cru entered into additional

 12 transactions with other customers at a later time that ultimately provided the company with the

 13 funds necessary to purchase wine for the Total Transfers. This pattern of conduct of using new

 14 money to fund the fulfillment of earlier obligations constitutes a Ponzi scheme or similar fraud

 15 whereby funds received from later fraudulent transactions were used to fund prior obligations.

 16          41.     Moreover, Fox’s plea agreement evidences Premier Cru’s intent to defraud its

 17 creditors through the fraudulent scheme. Therefore, the Total Transfers were made with the actual

 18 intent to hinder, delay, or defraud entities to which Premier Cru was or became indebted to on or
 19 after the date of the transfer.

 20          42.     As stated above, there are a multitude of badges of fraud present with respect to the

 21 transactions with the Defendant. The existence and sheer number of the badges of fraud present in

 22 this matter indicate that Premier Cru intended to hinder, delay, or defraud its creditors in entering

 23 into and making the Total Transfers.

 24          43.     Defendant was the initial transferee of the Total Transfers as the Defendant

 25 received the wine and funds transferred directly from Premier Cru.

 26          44.     Pursuant to California Civil Code § 3439.04(a)(1) et seq. and 11 U.S.C. §§ 544 &

 27 550, the Trustee is entitled to judgment avoiding and recovering the value of the Total Transfers

 28 from the Defendant.

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  1                               Count III – Actual Intent Voidable Transfer
                   Under California Civil Code § 3439.04(a)(1) et seq.; 11 U.S.C. §§ 544 and 550
  2                                        (Obligations to Defendant)
  3          45.     The Trustee re-alleges and fully incorporates the allegations pleaded in the
  4 preceding paragraphs as if fully set forth herein.

  5          46.     The Debtor presently has one or more creditors whose claim arose either before or
  6 after the transfers to the Defendant.

  7          47.     Premier Cru incurred obligations to the Defendant relating to 155 bottles of wine
  8 during the seven years prior to the Petition Date (the “Obligations”). The Obligations are more

  9 fully described in Exhibit B, which is attached hereto.

 10          48.     The Obligations were incurred within seven years of the Petition Date.
 11          49.     The aggregate amount of the Obligations may be in excess of the above-stated
 12 amount, and the Trustee may amend his Complaint as and when additional transfers made as a part

 13 of the scheme are ascertained.

 14          50.     The Obligations were incurred as a part of the fraud at Premier Cru. Premier Cru
 15 entered into the underlying wine sales in furtherance of its fraudulent scheme. Each of the

 16 transactions generated cash through the alleged “sale” of the wine to the Defendant. These sham

 17 transactions provided Premier Cru with the funds it required to satisfy already existing obligations

 18 that were part of the fraudulent scheme.        Furthermore, Premier Cru entered into additional
 19 transactions with other customers at a later time that ultimately provided the company with the

 20 funds necessary to satisfy the Obligations. This pattern of conduct of using new money to fund

 21 the fulfillment of earlier obligations constitutes a Ponzi scheme or similar fraud whereby funds

 22 received from later fraudulent transactions were used to fund prior obligations.

 23          51.     Moreover, Fox’s plea agreement evidences Premier Cru’s intent to defraud its
 24 creditors through the fraudulent scheme. Therefore, the Obligations were incurred with the actual

 25 intent to hinder, delay, or defraud entities to which Premier Cru was or became indebted to on or

 26 after the date of the transfer.

 27          52.     As stated above, there are a multitude of badges of fraud present with respect to the
 28 transactions with the Defendant. The existence and sheer number of the badges of fraud present in

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  1 this matter indicate that Premier Cru intended to hinder, delay, or defraud its creditors in entering

  2 into the sales and incurring the Obligations.

  3          53.     Pursuant to California Civil Code § 3439.04(a)(1) et seq. and 11 U.S.C. §§ 544, the

  4 Trustee is entitled to judgment avoiding the Obligations.

  5                             Count IV – Constructive Fraudulent Transfer
                                       Under 11 U.S.C. § 548(a)(1)(B)
  6                                     (Wine and Cash Transfers)
  7
             54.     The Trustee re-alleges and fully incorporates the allegations pleaded in the
  8
      preceding paragraphs as if fully set forth herein.
  9
             55.     The Debtor presently has one or more creditors whose claim arose either before or
 10
      after the transfers to the Defendant.
 11
             56.     Premier Cru made the 548 Transfers to the Defendant.
 12
             57.     The aggregate amount of the 548 Transfers may be in excess of the above-stated
 13
      amount, and the Trustee may amend his Complaint as and when additional transfers made as a part
 14
      of the scheme are ascertained.
 15
             58.     Premier Cru received less than reasonably equivalent value in exchange for the 548
 16
      Transfers.
 17
             59.     The 548 Transfers were made at a time when Premier Cru (a) was insolvent; (b)
 18
      was engaged in business or a transaction, or was about to engage in business or a transaction, for
 19
      which any property remaining with the debtor was an unreasonably small capital; or (b) intended
 20
      to incur, or believed that it would incur, debts that would be beyond its ability to pay as such debts
 21
      matured.
 22
             60.     Defendant was the initial transferee of the 548 Transfers as the Defendant received
 23
      the wine and funds transferred directly from Premier Cru.
 24
             61.     Pursuant to 11 U.S.C. §§ 548(a)(1)(B) and 550, the Trustee is entitled to judgment
 25
      avoiding and recovering the value of the 548 Transfers from the Defendant.
 26

 27

 28

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  1                                Count V – Constructive Voidable Transfer
                   Under California Civil Code § 3439.04(a)(2) et seq.; 11 U.S.C. §§ 544 and 550
  2                                        (Wine and Cash Transfers)
  3
             62.     The Trustee re-alleges and fully incorporates the allegations pleaded in the
  4
      preceding paragraphs as if fully set forth herein.
  5
             63.     The Debtor presently has one or more creditors whose claim arose either before or
  6
      after the transfers to the Defendant.
  7
             64.     Premier Cru made the Total Transfers to the Defendant.
  8
             65.     The aggregate amount of the Total Transfers may be in excess of the above-stated
  9
      amount, and the Trustee may amend his Complaint as and when additional transfers made as a part
 10
      of the scheme are ascertained.
 11
             66.     Premier Cru received less than reasonably equivalent value in exchange for the
 12
      Total Transfers.
 13
             67.     The Total Transfers were made at a time when Premier Cru (a) was insolvent
 14
      and/or was engaged or was about to engage in a business or a transaction for which the remaining
 15
      assets of the debtor were unreasonably small in relation to the business or transaction; or (b)
 16
      intended to incur, or believed or reasonably should have believed that it would incur, debts beyond
 17
      its ability to pay as they became due.
 18
             68.     Defendant was the initial transferee of the Total Transfers as the Defendant
 19
      received the wine and funds transferred directly from Premier Cru.
 20
             69.     Pursuant to California Civil Code § 3439.04(a)(2) et seq. and 11 U.S.C. §§ 544 and
 21
      550, the Trustee is entitled to judgment avoiding and recovering the value of the Total Transfers
 22
      from the Defendant.
 23
                                 Count VI – Constructive Fraudulent Transfer
 24                Under California Civil Code § 3439.04(a)(2) et seq.; 11 U.S.C. §§ 544 and 550
                                           (Obligations to Defendant)
 25
             70.     The Trustee re-alleges and fully incorporates the allegations pleaded in the
 26
      preceding paragraphs as if fully set forth herein.
 27

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  1          71.       The Debtor presently has one or more creditors whose claim arose either before or

  2 after the transfers to the Defendant.

  3          72.       Premier Cru incurred the Obligations.

  4          73.       The aggregate amount of the Obligations may be in excess of the above-stated

  5 amount, and the Trustee may amend his Complaint as and when additional transfers made as a part

  6 of the scheme are ascertained.

  7          74.       Premier Cru received less than reasonably equivalent value in exchange for the

  8 Obligations.

  9          75.       The Obligations were incurred at a time when Premier Cru (a) was insolvent and/or

 10 was engaged or was about to engage in a business or a transaction for which the remaining assets

 11 of the debtor were unreasonably small in relation to the business or transaction; or (b) intended to

 12 incur, or believed or reasonably should have believed that it would incur, debts beyond its ability

 13 to pay as they became due.

 14          76.       Pursuant to California Civil Code § 3439.04(a)(2) et seq. and 11 U.S.C. § 544, the

 15 Trustee is entitled to judgment avoiding the value of the Obligations from the Defendant.

 16                                                PRAYER
 17          Wherefore, the Trustee respectfully requests that the Court enter judgment and grant the

 18 following relief against the Defendant:
 19                   Entering an order of judgment avoiding the Obligations and Total Transfers under
                       11 U.S.C. § 544 and California Civil Code 3439.04(a)(1);
 20
                      Entering an order of judgment avoiding the Obligations and Total Transfers to the
 21
                       Defendant under 11 U.S.C. § 544 and California Civil Code 3439.04(a)(2);
 22
                      Entering an order of judgment avoiding the 548 Transfers to the Defendant under
 23                    11 U.S.C. § 548(a)(1)(A);

 24                   Entering an order of judgment avoiding the 548 Transfers to the Defendant under
                       11 U.S.C. § 548(a)(1)(B);
 25

 26                   Entering an order permitting the Trustee to recover the value of the avoided
                       transfers in an amount to be proven at trial;
 27
                      Prejudgment and post-judgment interest as allowed by law; and
 28

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                                                18
  1              All other relief to which the Trustee is entitled.
  2

  3
           Dated: January 5, 2018                        DIAMOND MCCARTHY LLP
  4
                                                         By: /s/ Kathy Bazoian Phelps
  5                                                      KATHY BAZOIAN PHELPS
  6                                                      Attorneys for Michael Kasolas, Chapter 7
                                                         Trustee for Fox Ortega Enterprises, Inc.
  7                                                      dba Premier Cru

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                                                                 Exhibit A

                                                               Wine Transfers
                                                                                             Qty
CustName          ShipDate       SalesOrder      Description                               Shipped   Unit Value         Total Value
Richard O'Neill      5/22/2009   SO-0000229544   05 Pavie Magnum                             1       $     547.69   $          547.69
Richard O'Neill      7/15/2009   SO-0000229544   05 Pavie Magnum                             1       $     547.69   $          547.69
Richard O'Neill      11/4/2009   SO-0000230920   05 Margaux 3 Liter                          3       $   2,900.71   $        8,702.12
Richard O'Neill      11/4/2009   SO-0000159537   03 Latour 3 Liter                           3       $   3,025.00   $        9,075.00
Richard O'Neill      11/9/2009   SO-0000224424   05 Rieussec 1/2                            12       $      32.45   $          389.43
Richard O'Neill      11/9/2009   SO-0000224789   05 La Tour Blanche 1/2                     12       $      22.25   $          267.00
Richard O'Neill      11/9/2009   SO-0000229206   05 Troplong Mondot Magnum                   2       $     329.87   $          659.74
Richard O'Neill      11/9/2009   SO-0000226251   05 La Bienfaisance                          6       $       6.67   $           40.02
Richard O'Neill      11/9/2009   SO-0000224394   05 Reignac 1/2                             12       $       9.67   $          116.04
Richard O'Neill      11/9/2009   SO-0000222639   05 Marquis d'Alesme Becker 1/2, Margaux    12       $      12.69   $          152.28
Richard O'Neill      11/9/2009   SO-0000224740   05 Suduiraut 1/2                           12       $      32.05   $          384.60
Richard O'Neill      11/9/2009   SO-0000323725   06 Duhart Milon                            12       $      32.05   $          384.60
Richard O'Neill      11/9/2009   SO-0000323721   06 Duhart Milon                            12       $      32.05   $          384.60
Richard O'Neill      11/9/2009   SO-0000251180   03 Leoville Poyferre                        4       $      75.00   $          300.00
Richard O'Neill      11/9/2009   SO-0000228448   05 Branaire Ducru                           6       $      76.00   $          456.00
Richard O'Neill      11/9/2009   SO-0000227634   05 La Confession Magnum                     3       $     124.99   $          374.97
Richard O'Neill      11/9/2009   SO-0000253599   05 Clos des Lambrays Magnum                 1       $     186.97   $          186.97
Richard O'Neill      11/9/2009   SO-0000227634   05 La Confession 3 Liter                    1       $     229.71   $          229.71
Richard O'Neill      11/9/2009   SO-0000253599   05 Clos des Lambrays                        3       $     250.03   $          750.09
Richard O'Neill      11/9/2009   SO-0000229206   05 Beausejour Duffau 3 Liter                1       $     307.16   $          307.16
Richard O'Neill      11/9/2009   SO-0000229544   05 Pavie Magnum                             1       $     547.69   $          547.69
Richard O'Neill     12/14/2009   SO-0000329705   05 Beausejour Duffau 1/2                    1       $      35.72   $           35.72
Richard O'Neill     12/14/2009   SO-0000320705   06 La Croix St Georges                     60       $      63.44   $        3,806.40
Richard O'Neill     12/14/2009   SO-0000329705   06 Beaune Greves Enfant Jesus, Bouchard     1       $      73.45   $           73.45
Richard O'Neill     12/14/2009   SO-0000329705   07 Chambolle Gruenchers, Dujac              1       $     109.00   $          109.00
Richard O'Neill     12/14/2009   SO-0000329705   07 Vosne Romanee Malconsorts, Dujac         2       $     129.17   $          258.34
Richard O'Neill     12/14/2009   SO-0000329705   06 Clos de Beze, Bouchard                   1       $     153.58   $          153.58
Richard O'Neill     12/14/2009   SO-0000230516   05 Mouton                                  12       $     574.99   $        6,899.88
Richard O'Neill      2/25/2010   SO-0000231198   05 Ausone                                   1       $     974.92   $          974.92
Richard O'Neill      2/25/2010   SO-0000292718   05 Clos l'Eglise (Pomerol)                  6       $     112.18   $          673.08
Richard O'Neill      2/25/2010   SO-0000289284   05 Troplong Mondot                          5       $     162.93   $          814.65
Richard O'Neill      11/9/2010   SO-0000340953   03 Reignac Cuvee Speciale                  24       $       6.00   $          144.00
Richard O'Neill      11/9/2010   SO-0000228432   05 Malescot St. Exupery                     6       $      96.16   $          576.96
Richard O'Neill      11/9/2010   SO-0000341606   85 l'Evangile                               2       $     215.11   $          430.22
Richard O'Neill      11/9/2010   SO-0000230346   05 Lafite Rothschild                        1       $     900.00   $          900.00
Richard O'Neill      1/16/2012   SO-0000229203   05 Beausejour Duffau                       12       $      92.00   $        1,104.00
Richard O'Neill      1/16/2012   SO-0000336995   08 Hosanna                                  3       $     110.00   $          330.00
                                                                                            258                     $       42,087.60




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                                                   Exhibit B

                                                  Obligations
                Sales Order
Sales Order        Date     Description                                Quantity   Unit Price        Total Price
SO-0000320705    7/10/2009   06 La Croix St Georges                      60       $    24.99    $      1,499.40
SO-0000323725     9/4/2009   06 Duhart Milon                             12       $    29.99    $        359.88
SO-0000323721     9/4/2009   06 Duhart Milon                             12       $    27.99    $        335.88
SO-0000329705   12/10/2009   05 Beausejour Duffau 1/2                     1       $    45.00    $         45.00
SO-0000329705   12/10/2009   06 Beaune Greves Enfant Jesus, Bouchard      1       $    99.99    $         99.99
SO-0000329705   12/10/2009   07 Chambolle Gruenchers, Dujac               1       $   129.99    $        129.99
SO-0000329705   12/10/2009   07 Vosne Romanee Malconsorts, Dujac          2       $   159.99    $        319.98
SO-0000329705   12/10/2009   06 Clos de Beze, Bouchard                    1       $   219.99    $        219.99
SO-0000336995    5/12/2010   08 Hosanna                                   3       $   109.99    $        329.97
SO-0000340953    7/22/2010   03 Reignac Cuvee Speciale                   24       $     9.99    $        239.76
SO-0000341606    8/12/2010   85 l'Evangile                                2       $   209.99    $        419.98
SO-0000421154    8/19/2013   09 Louis                                    36       $    24.99    $        899.64
                                                                         155                    $      4,899.46




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